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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No.: 1:14-cv-00990-RBJ

RHONDA NESBITT, individually and on behalf of all others similarly situated,

       Plaintiff,

v.

FCNH, INC., VIRGINIA MASSAGE THERAPY, INC., MID-ATLANTIC
MASSAGE THERAPY, INC., STEINER EDUCATION GROUP, INC., STEINER
LEISURE LTD., SEG CORT LLC, doing business as the “Steiner Education Group,”

       Defendants.


         PLAINTIFF’S RESPONSE TO MOTION TO COMPEL ARBITRATION


       Plaintiff Rhonda Nesbitt, individually and on behalf of all others similarly situated

(“Plaintiffs”), by and through undersigned counsel, respectfully responds to Defendants’ Motion

to Compel Arbitration (Doc. 10), and requests that the Court deny such motion because the

controlling law of this jurisdiction, along with a reading of the unambiguous terms of the

“Arbitration Agreement” itself, and the facts set forth herein, make it clear that the Agreement is

void as unconscionable and unenforceable against the Plaintiffs.

                                       INTRODUCTION

       Defendants (“SEG”) run a for-profit educational services business at 32 campuses in

some 14 states across the country. SEG represents itself as providing education in the areas of

massage therapy and / or esthetics. Ms. Nesbitt attended one such program in the Denver,

Colorado, area within the last three years, studying massage therapy. During her attendance she

was required by Defendants to perform massage services for paying customers during weekend
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“clinics” set up by Defendants. Clients paid money or other consideration to SEG for these

services. Plaintiffs received no pay for giving the massages. Neither did Plaintiffs receive any

instruction, training or meaningful monitoring by Defendants during these clinic times. During

the clinics the students were prohibited from giving free massages. SEG charged $25.00 (or a

certificate amounting to $25) per massage, and the students were required to perform 4-5

massages per clinic shift. 1 Each week that amounted to $100 to $125 worth of income for SEG

per student. As SEG’s own marketing materials make clear: over 150,000 massages were

performed by SEG students per year; and that amounts to over $11,250,000 worth of profit-

making income to SEG over a three year period. See Exhibit 2 (materials taken from SEG’s own

marketing materials and/or from its website showing that SEG’s statements that its students

perform “more than 150,000” clinic massages per year (at page 2, fourth bullet point) at $25 per

massage (at page 3)).


       Plaintiffs’ claims are based on the premise that the SEG students’ performance of

massages during these clinics was compensable work, primarily performed for the profit and

benefit of SEG, which, during those clinic times, was acting as Plaintiffs’ employer under the

Fair Labor Standards Act (“FLSA”) and the Colorado Wage Act (“CWA”). Plaintiffs’ position is

that while SEG was requiring the Plaintiffs to perform work for the company, the students should

have been paid the requisite minimum wage and accorded all rights and benefits under the FLSA

and the CWA.

       Defendants argue that Ms. Nesbitt signed an Arbitration Agreement as part of her

enrollment process, and that such Arbitration Agreement is binding and requires her to arbitrate

any and all of her claims, while precluding her from participating in a class action. While the


1
       See Exhibit 1, Affidavit of Rhona Lynnae Nesbitt, at ¶¶ 1-5.
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Plaintiffs acknowledge that the law generally recognizes a public policy in favor of honoring

Arbitration Agreements under the Federal Arbitration Act (“FAA”), the Defendants have closed

their eyes to the established law that applies in this case: That law first looks to what the

Arbitration Agreement actually says, and whether the specific terms at issue are unconscionable,

or otherwise unenforceable.

        Controlling cases out of the federal district of Colorado and out of the Tenth Circuit,

Court of Appeals, as well as from other federal jurisdictions, all support the Plaintiffs’ position

that the Arbitration Agreement is unconscionable and unenforceable for the reasons set out

immediately below:

        First, SEG mandated in the agreement that “[e]ach party shall bear the expense of its own

counsel, experts, witnesses, and preparation and presentation of proofs.” Exhibit 1-A at 8,

attached to Exhibit 1, Affidavit of Rhonda Lynnae Nesbitt. This provision, on its face and as

applied to Ms. Nesbitt, is unconscionable. The real world prejudice of subjecting Ms. Nesbitt to

the liability for many thousands of dollars in such fees, costs and expenses would not be imposed

if this matter were litigated in the federal courts. This is of critical importance to Ms. Nesbitt

since the evidence presented along with this response will show that she is unable to afford such

burdensome arbitration expenses.

        Second, and related to the expenses assigned to Ms. Nesbitt by SEG in the Arbitration

Agreement, is SEG’s requirement that the “Arbitration shall be conducted in accordance with the

Commercial Rules of the American Arbitration Association” (“AAA”). Those rules are

impermissibly prejudicial to Ms. Nesbitt. They unconscionably impose excessive costs on Ms.

Nesbitt which she cannot afford, whereas she would not have to sustain such expenses in judicial

litigation.



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        Third, SEG chose not to include a savings clause or severability provision in the

Arbitration Agreement it drafted (which, if included, might have allowed the Court to remedy the

defective contractual agreement by modifying unconscionable or otherwise unenforceable

terms—a power it does not have in the absence of such a provision).

        Fourth, SEG drafted the Arbitration Agreement which, when measured against the

accepted multi-part test used in this federal district, on balance, fails the general test of whether it

is conscionable and may be enforced against the Plaintiffs.

        Fifth, Defendants’ Arbitration Agreement impermissibly goes too far, in that it 1) is so

broadly stated as to make reasonable people believe that it prevents them from filing a charge

before the National Labor Relations Board (“NLRB”); and 2) prevents Plaintiffs from exercising

their statutorily granted rights under Sections 7 and 8 (a)(1) of the National Labor Relations Act

(“NLRA”) and under Section 216(b) of the Fair Labor Standards Act (“FLSA”) to engage with

others in protected concerted activity by bringing a collective and class action. While,

admittedly, the ultimate result of this latter claim is uncertain at best, given the current state of

the case law, the matter has not been ultimately resolved by the United States Supreme Court. In

the meantime, the NLRB—an Executive Branch Agency—has the independent power to enforce

the law as it deems proper. It has made it completely clear by its decision in D.R. Horton, Inc.,

357 NLRB No. 184 (2012), overruled, 737 F.3d 344 (5th Cir. 2013) (deadline for filing petition

for certiorari review still pending), that the NLRA (and the FLSA) support the Plaintiffs’ claims

in front of their agency, and provides support to those claims before this court.

                  I.      ADDITIONAL UNDISPUTED MATERIAL FACTS

        In addition to the facts stated in Defendants’ Motion to Compel, the following facts are

true:



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       1)         Before being allowed to attend DSMT, Ms. Nesbitt was required to complete the

school’s Enrollment Agreement, the typewritten parts of which were drafted by SEG. A copy of

that document is attached as Exhibit 1-A. 2

       2)         Contained within the Enrollment Agreement was the Arbitration Agreement at

issue in this proceeding, and which appeared as part of a section entitled “Student

Acknowledgments.” Id. at 8.

       3.         In the Arbitration Agreement section of the Student Acknowledgments there was

not any place for Ms. Nesbitt to sign or initial the document, but in all other sections of the

Student Acknowledgments her initials were required. Id.

       4.         Ms. Nesbitt had to complete and sign the Enrollment Agreement before she could

meet with the school’s financial aid advisors, and she was not allowed to review the Enrollment

Agreement until she was going through the enrollment process, itself. Exhibit 1, Affidavit of

Rhonda Lynnae Nesbitt at ¶ ¶ 6-10.

            II.       THE TERMS OF THE ARBITRATION AGREEMENT ARE
                        UNCONSCIONABLE AND UNENFORCEABLE
                              AGAINST THE PLAINTIFFS

       Defendants devote 3 pages of their Motion generally arguing that the FAA, along with

cases applying it, controls the outcome of this arbitration dispute and that under the FAA there is

“no place for the exercise of discretion by a district court” other than to “direct the parties to

arbitration.” Defendants’ Motion to Compel Arbitration (Doc. 10) at 5-7.

       In a situation reminiscent of Bleak House, the Tenth Circuit recently mused that:


2
       Ms. Nesbitt has been unable to find a copy of her own fully filled out Enrollment
Agreement (which, undoubtedly, is in the possession of the Defendants). However, she
remembers that what she filled out was, to her best recollection and belief, identical to the form
attached in Exhibit 1-A—but filled out with her information, signature and initials in the same
way Exhibit 1-A was completed. See Exhibit 1, Affidavit of Rhonda Lynnae Nesbitt at ¶ 19.

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“Everyone knows the Federal Arbitration Act favors arbitration.” That, however, does not

answer the questions presented here, and SEG jumps much too quickly, and without support, to

its conclusion. 3

        The leading case in this circuit, under circumstances generally involving the issues raised

now before the court, is Shankle v. B-G Maintenance Management of Colorado, Inc., 163 F.3d

1230 (10th Cir. 1999). Defendants do not discuss that case.

        In Shankle the Tenth Circuit was faced with a case where the employer argued that the

dispute had to be referred to arbitration. The arbitration agreement at issue—like the one in this

case—required the employee to pay a portion of the arbitrator’s fees and expenses. The court

noted the clear U.S. Supreme Court-mandated presumption in favor of enforcing agreements to

arbitrate under the FAA, but held that such presumption was “not without limits.” Shankle, 163

F.3d at 1234:

               [A]rbitration of statutory claims works because potential litigants have an
        adequate forum in which to resolve their statutory claims and because the broader social
        purposes behind the statute are adhered to. This supposition falls apart, however, if the
        terms of an arbitration agreement actually prevent an individual from effectively
        vindicating his or her statutory rights.

Id., citations omitted.

        The Shankle court held that the arbitration agreement’s terms which required the plaintiff

to pay one-half of the arbitration expenses that he could not afford, and which would not be

incurred in a judicial setting, failed to provide an accessible forum in which he could resolve his

statutory (anti-discrimination) rights. Id.at 1235. The agreement to arbitrate was voided as

3
         While its not clear from their brief, to the extent that SEG is arguing that the
enforceability of the Arbitration Agreement should be decided by an Arbitrator instead of the
court, it is wrong. Shankle v. B-G Maintenance Management of Colorado, Inc., 163 F.3d 1230,
1235 (10th Cir. 1999). See, Metz v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 39 F.3d 1482,
(10th Cir. 1994).1486-1488. See also, Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.
473 U.S. 614, 628 (1985).

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unconscionable. Id. at 1233-1235. 4 As shown within, the terms in SEG’s Arbitration Agreement

in this case are much more burdensome and expensive to the Plaintiff than was the agreement

that was voided in the Shankle case.

          It is true that much judicial water has flowed under the Arbitration Agreement bridge

since the Tenth Circuit decided Shankle. But none of those decisions, including the ones relied

on by Defendants—from Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79 (2000), to AT&T

Mobility v. Conception, 563 U.S. ___, 131 S.Ct. 1740 (2011)—contradict or in any way call into

question the rule that even the Defendants are forced to acknowledge: “An arbitration agreement

is not enforceable if it is unconscionable.” Defendants’ Motion to Compel (Doc. 10) at 8 (citing

this court’s opinion in Vernon v. Qwest Communications Int’l, Inc., 925 F.Supp.2d 1185, 1994

(D. Colo. 2013) and Weller v. HSBC Mortgage Servs., Inc. 971 F.Supp.2d 1072, 1079 (D. Colo.

2013)).

          Those cases and others will be discussed below, but the bottom line is that—even under

the most recent cases in this judicial district and circuit—SEG’s Arbitration Agreement is

unconscionable and unenforceable as a matter of law, and as applied in this case.




4
        The Shankle court acknowledged that the “typical employment case averages between
fifteen to forty hours of arbitrator time. Shankle, 163 F.3d at 1234, n.5 (citing Cole v. Burns Int’l
Sec. Serv., 105 F.3d 1465, 1485 (D.C. Cir. 1997). Not including fees, arbitration filing charges or
other arbitration costs, the arbitrator time, alone, would have cost Mr. Shankle between $1,875
and $5,000. Shankle, 163 F.3d at 1234. The court also held that even if the arbitrator had the
power to shift fees or expenses in arbitration, it was “unlikely that an employee in Mr. Shankle’s
position, faced with the mere possibility of being reimbursed for arbitrator fees in the future,
would risk advancing those fees in order to access the arbitral forum. Because the Agreement
does not actually shift responsibility for payment of fees based on ability to pay, fee shifting does
not affect our analysis on this case.” Shankle, 163 F.3d at 1234, n.4.
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A.      SEG’s Arbitration Agreement Is Unconscionable and Unenforceable

        1.      The legal standard for unconscionability.

        Defendants cite to the case of Bernal v. Burnett, 792 F.Supp.2d 1280 (D.Colo. 2011), for

what they say is the general argument that courts “routinely enforce arbitration agreements

arising in the student/educational institute context.” Motion to Compel (Doc. 10) at 7. That is

not the message of Bernal. While the court in Bernal did hold that the specific arbitration

agreement between students and their school in that case was enforceable, that result has no

import here. Arbitration is a matter of contract, and whether a contract is unconscionable is a

matter of law entirely dependent on the terms of that individual contract. Bernal, 793 F.Supp.2d

at 1284, citing Mullan v. Quickie Aircraft Corp., 797 F.2d 845, 850 (10th Cir. 1986).

        The actual import of Bernal is that it sets out a post-AT&T Mobility LLC v. Concepcion

roadmap that the courts should follow in answering the question of whether any particular

arbitration agreement is unconscionable or unenforceable. See, Bernal, 793 F.Supp.2d at 1285-

1289.

        Bernal was soon followed by a decision out of the same Colorado federal district court

examining the terms of yet another agreement that mandated arbitration; this time in the

employment context. Daugherty v. Encana Oil & Gas (USA), Inc., 2011 WL 2791338 (No. 10-

cv-02272, July 15, 2011). The Daugherty arbitration agreement included a provision that said

that the “prevailing party shall be entitled to recover its reasonable attorneys’ fees.” Id. at 3. In

that opinion, the court fleshed out and applied the approach set out in Bernal, relying heavily on

the controlling Shankle case, referenced above. 5



5
        As discussed below, the court made it clear that it would have voided the arbitration
clause if there was not a severability clause in the agreement. Daugherty, 2011 WL 2791338 at
12-13. The SEG Arbitration Agreement contains a similar, but even more monetarily
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       Bernal and Daugherty both recognize that one of the legal grounds for revoking a

contract is that it is unconscionable. Bernal, 793 F.Supp.2d at 1285; Daugherty, 2011 WL

2791338 at 7. If an arbitration clause is contained in a contract and is found by the court to be

unconscionable, the arbitration clause may be removed from the contract. Id.,with both decisions

citing to Buckeye Check Cashing v. Cardegna, 546 U.S. 440, 445 (2006).

       To defeat SEG’s motion to compel arbitration “Plaintiffs must show that the Arbitration

Agreement itself—and not the contract in general—is unconscionable and, therefore,

unenforceable.” Bernal, 793 F.Supp.2d at 1285; and Daugherty, 2011 WL 2791338 at 7 (both

citing to Rent-A-Center, West, Inc. v. Jackson, 130 S.Ct. 2772, 2778, 177 L.Ed.2d 403 (2010)).

       Both Bernal and Dauugherty use the same language in setting out the factors that should

be used when addressing the issue of whether an arbitration clause is unconscionable. They are

virtually identical to the factors later adopted and set out in this court’s decision in the more

recent case of Vernon v. Qwest Communications Int’l, Inc. 925 F.Supp.2d 1185, 1194-1195 (D.

Colo. 2013). See also, Weller v. HSBC Mortgage Servs., Inc. 971 F.Supp.2d 1072, 1079 (D.

Colo. 2013). Those factors come from the Colorado case of Davis v. M.L.G. Corp., 712 P.2d

985, 991 (Colo. 1986). Id. See Bernal, 793 F. Supp.2d at 1286; Daugherty, 2011 WL 2791338 at

8; Vernon, 925 F.Supp.2d at 1194-1195.

       The Bernal court held that Colorado’s Davis-based test for unconscionability does not

explicitly disfavor arbitration, and so there is no reason why Davis should not still be considered

good law after the Supreme Court’s decision in Concepcion. Bernal, 793 F.Supp.2d at 1287. See,

Daugherty, 2011 WL2791338 at 9. In all of these cases the courts have agreed that Colorado

state law controls on the issue of whether the agreement is conscionable, vel non.

burdensome provision, and there is no severability clause anywhere in the SEG Enrollment
Agreement, including in its Arbitration Agreement.

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        Plaintiffs’ first four arguments set out above in the Introduction section (pages 3-4,

 supra) that assert SEG’s Arbitration Clause is unconscionable should be reviewed by this court

 under that seven factor analysis that has now been regularly adopted by the Colorado federal

 district court bench. Those factors are examined immediately below. They require the court to

 consider whether the arbitration agreement was:

        1)      a standardized agreement executed by parties of unequal bargaining power.

        The Defendants fail to address this issue directly. What is clear is that when Ms. Nesbitt

 went to enroll at DSMT, and was in the middle of going through the process, she was simply

 presented an Enrollment Agreement drafted by SEG on their standardized form that she was not

 able to negotiate and had to sign if she wanted to continue. Exhibit 1, Affidavit of Rhonda

 Lynnae Nesbitt, ¶¶ 6-10; See Exhibit 1-A attached to Exhibit 1, SEG Enrollment Agreement at 8.

        Plaintiffs acknowledge—especially after the Supreme Court’s decision in Concepcion—

 that SEG’s use of its own SEG-drafted agreement under adhesive terms, standing alone, is not

 enough to prove that the Arbitration Agreement is unconscionable. Concepcion, 131 S.Ct.

 1750; Vernon, 925 F.Supp.2d at 1195. Nonetheless, it is a step in that direction.

        2)      lack of an opportunity to read or become familiar with the document before

 signing it.

        Ms. Nesbitt was not given a chance to review the contract before going through the

 enrollment process; and was not shown the arbitration clause in advance. Nor was it pointed out

 to her or explained. And she did not notice or appreciate it before she signed the Enrollment

 Agreement. It was simply part of the nine page single-spaced Enrollment Agreement she had to

 complete to finish the application process. Significantly, as explained below in subsection 4), the

 Arbitration Agreement did not contain a place for her initial or signature line, as did all the other



                                                  10
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 parts of the Student Acknowledgments. Exhibit 1, Affidavit of Rhonda Lynnae Nesbitt ¶¶ 6-10.

 Exhibit 1-A at 8.

         3)      use of fine print in the portion of the contract containing the provision.

         Defendants baldly state, without support, and in contradiction to the actual physical

 appearance of the document, that the Arbitration Agreement is “conspicuous, direct, and

 procedurally sound.” Plaintiffs disagree. In making its argument to the court, SEG types out the

 entirety of the Arbitration Agreement and does not present the original document to the court.

 Defendants’ Motion to Compel (Doc. 10) at 3-4. Plaintiffs’ Exhibit 1-A at 8 shows the court the

 actual appearance of the Arbitration Agreement; not the sanitized 12 point Times New Roman

 rendition of the text.

         As the court can see, it is not conspicuous, direct or procedurally sound. The Arbitration

 Agreement is set out in one run-on paragraph. Its first sentence goes on for fifteen single-spaced

 lines, has 5 numbered subsections and multiple parenthetical clauses. What takes up an entire

 page in Defendants’ Motion is set in type small enough so that it takes not quite one full column

 in the Enrollment Agreement. Compare Plaintiffs’ Exhibit 1-A at 8 with Defendants’ Motion to

 Compel (Doc. 10) at 3-4.

         4)      absence of evidence that the provision was commercially reasonable

         Defendants never point to any evidence that the Arbitration Agreement was

 “commercially reasonable.” They declare it so, but offer no legal support or directed argument,

 aside from noting that a part of the Arbitration Agreement is in capital letters and there is a

 provision at the very end of the single-spaced-full-page-long 6 Arbitration Agreement that allows

 the Plaintiffs to reject that part of the Enrollment Agreement if they send in a written rejection


 6
         “Full-column-long” in the actual document itself, where the type is approximately half
 the size as is typed out in Defendants’ Motion.
                                                  11
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 notice contained certain information to a certain address within 30 days of the signing of the

 Enrollment Agreement. See, Defendants’ Motion to Compel (Doc. 10) at 4, 9-10.

        Those two facts are correct—for what they are worth—but the actual document shows

 that the capitalized letters and the limited right to reject are buried after more than 30 single-

 spaced lines in one long paragraph. They appear in the only part of the Student

 Acknowledgments section that does not require the initials of the applicant. Exhibit 1-A at 8.

 That placement intentionally draws every reader’s attention away from the only provision—the

 Arbitration Agreement—that does not have to be approved by the applicant’s signature or initials

 in that section. Common sense argues that the provisions in the Enrollment Agreement that

 require signatures or initials will draw an applicant’s attention much more than a companion

 provision that runs on for over 40 single-spaced lines that does not require a signature or initials.

        Additionally, Plaintiffs note that not only did the Arbitration Agreement lack a line for

 the applicant’s initials or signature, but it did not appear in a separate document, as did the

 agreement in the Bernal case. See Bernal, 793 F.Supp.2d at 1288. More importantly, as

 described below, it contained terms that when applied in the context of Plaintiffs’ FLSA and

 CWA case are not only unreasonable, see, id., but are unconscionable.

        5)      the terms of the contract

        This factor is the key that opens the lock the rest of the way in favor of the Plaintiffs. In

 the context of the seven-factor test, two unconscionable provisions are buried within the lengthy

 Arbitration Agreement. Appearing in the second sentence of the Arbitration Agreement that

 starts 16 single-spaced lines down the page is the following sentence:

        Arbitration shall be conducted in accordance with the Commercial Rules of the American
        Arbitration Association applying federal law to the fullest extent possible, and the
        substantive and procedural provisions of the Federal Arbitration Act (9 U.S.C. §§ 1-16)
        shall govern this Arbitration Agreement and any and all issues relating to the

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           enforcement of the Arbitration Agreement and the arbitrability of the claims between the
           parties.

 Exhibit 1-A at 8.

           Later in the provision the following sentence appears: “Each party shall bear the expense

 of its own counsel, experts, witnesses, and preparation and presentation of proofs.” Id.

           The effect of these two sentences results in an unconscionable situation where Ms.

 Nesbitt will be subject to paying many thousands of dollars in arbitration-related fees. These are

 costs and expenses that she would not be subject to paying in the judicial setting. Additionally,

 under SEG’s language, she will not be able to take advantage of the substantive provision of the

 FLSA under which SEG would pay her attorneys’ fees and costs if she is successful. 29 U.S.C. §

 216(b).

           This case substantially differs from Bernal, in part, because there the parties were arguing

 within the context of a commercial setting and the AAA Commercial Rules accordingly were

 appropriate. More importantly, the Plaintiffs did not appear to object to their application. See

 Bernal, 793 F.Supp.2d at 1283.

           In this case, Plaintiffs bring their claims under the FLSA and CWA, alleging that they

 were treated as employees in an employment context. However, by the terms of SEG’s

 Arbitration Agreement, the AAA Employment Rules will not be used. Rather, by SEG’s specific

 designation, the AAA’s Commercial Rules will be applied. Sections R-53, R-54 and R-55 of the

 AAA Commercial Rules sets out the fees, costs and expenses assigned within the Commercial

 Rules context. Commercial Arbitration Rules and Mediation Procedures, American Arbitration

 Association, Rules amended and effective October 1, 2013, and Fee Schedule amended and

 effective June 1, 2010:




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 https://www.adr.org/aaa/ShowProperty?nodeId=/UCM/ADRSTG_004103. (Hereinafter,

 “Commercial Rules”).

        Because SEG’s Arbitration Agreement designates the application of the Commercial

 Rules, those rules apply; but they apply as modified by SEG’s language in the Arbitration

 Agreement. Id., Commercial Rules at 10, R-1(a) (“The parties, by written agreement, may vary

 the procedures set forth in these rules”).

        Even in an individual party’s case, Ms. Nesbitt would have to pay a filing fee to the AAA

 of $775, and when the case goes to hearing, another $200. Commercial Rules at 10, R-53 7, and

 Fee Schedule at 40, Then she will have to pay all of her own costs associated with the

 arbitration—such as potentially thousands of dollars in deposition or discovery charges, witness

 travel expenses, hearing preparation expenses, etc. Whether those expenses are open to any

 reduction by the exercise of the arbitrator’s discretion is not clear. Compare Exhibit 1-A at 8

 with R-54 (“All other expenses of the arbitration, including required travel and other expenses of

 the arbitrator, AAA representatives, and any witness and the cost of any proof produced at the

 direct request of the arbitrator, shall be borne equally by the parties, unless they agree otherwise

 or unless the arbitrator in the award assesses such expenses or any part thereof against any

 specified party or parties”).

        These fees and expenses, however, do not end there. Under the Commercial Rules and

 the agreement of the parties, Ms. Nesbitt would additionally have to pay hundreds of dollars for

 the costs of the room in which the arbitration would be heard. AAA Fee Schedule for




 7
         Under R-53: “The AAA may, in the event of extreme hardship on the part of any party,
 defer or reduce the administrative fees.” However, because SEG’s arbitration language requires
 the parties to pay their own expenses and costs, it is questionable whether and to what extent the
 arbitrator retains any discretion about such allocations. See, Exhibit 1-A at 8.
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 Commercial Rules, amended and effective June 1, 2010:

 https://www.adr.org/aaa/ShowPDF?doc=ADRSTG_004102 at 5.

         Most importantly, she would have to split with SEG the arbitrator’s hourly compensation

 fee at a rate set by the arbitrator, or if the parties disagree with the stated rate, at such rate set by

 the AAA. Id. at R-55. Nowhere in the Commercial Rules or applicable fee schedules is the

 average arbitrator’s hourly or daily rate set out. And the AAA refuses to give out directly any

 information about what such a fee might be. 8 Accordingly, legal research concerning what such

 fees have been before is instructive.

         On average, a labor-related dispute requires approximately fifteen to forty hours of

 arbitrator time, Shankle, 163 F.3d at 1235 n. 5; and arbitrators’ fees average $250 to $600 per

 hour. Cole v. Burns Int'l Sec. Servs., 105 F.3d 1465, 1481 n. 8 (D.C. Cir. 1997) (cited

 approvingly in Shankle, 163 F.3d at 1235). 9 Ms. Nesbitt, then, is likely to incur between

 $2,320.50 and $12,487.50, plus such discovery, witness and room rental costs in arbitration-

 related expenses that she would avoid by litigating her claims in federal court. 10


 8
         Exhibit 3, Affidavit of Leslie K. Pagett, attached hereto at ¶¶ 1-6.
 9
         As the court said in Cole, more than 15 years ago, the AAA reported that “$700 per day
 as the average arbitrator's fee. Kenneth May, Labor Lawyers at ABA Session Debate Role of
 American Arbitration Association, DAILY LAB. REP. (BNA) No. 31, at A–12 (Feb. 15, 1996).
 JAMS/Endispute arbitrators charge an average of $400 per hour. See Alleyne, 13 HOFSTRA
 LAB. L.J. at 410 n.189. However, fees of $500 or $600 per hour are not
 uncommon. See Margaret A. Jacobs, Renting Justice: Retired Judges Seize Rising Role in
 Settling Disputes in California, WALL ST. J. , July 27, 1996, at A1; David Segal, Have Name
 Recognition, Will Mediate Disputes, WASH. POSTT, Dec. 16, 1996, Wash. Bus. at 5. CPR
 Institute for Dispute Resolution estimates arbitrators' fees of $250–$350 per hour and 15–40
 hours of arbitrator time in a typical employment case, for total arbitrators' fees of $3,750 to
 $14,000 in an “average” case. See CPR INST. FOR DISPUTE RESOLUTION, EMPLOYMENT
 ADR: A DISPUTE RESOLUTION PROGRAM FOR CORPORATE EMPLOYERS I–13
 (1995).” Cole, 105 F.3d 1465, 1481 n. 8.
 10
        The AAA filing fees for individual claims up to $10,000 is $775 for the initial filing fee
 and $200 more when the matter goes into hearing. Commercial Rules, R-53. Under Shankle and
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        Most prejudicially, however, the Ms. Nesbitt will have to pay her own attorneys fees and

 by the explicit terms of the SEG Arbitration Agreement will not be able to take advantage of the

 statutory remedies of the FLSA to have SEG pay her reasonable attorneys’ fees and costs if she

 is successful in the case. Compare SEG Arbitration Agreement (“Each party shall bear the

 expense of its own counsel, experts, witnesses, and preparation and presentation of proofs”) with

 Section 216(b) of the FLSA: “The court in such action [under the FLSA] shall, in addition to any

 judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the

 defendant, and costs of the action.”

        In Daugherty the court found a similar—but slightly different—arbitration agreement

 provision to be unconscionable:

                The Court finds that these two provisions [application of the Commercial
        Arbitration Rules in an employment case, and a fee shifting provision inconsistent
        with the FLSA] are unenforceable. First, the requirement that arbitration of issues
        arising out of the [arbitration agreements] follow the Commercial Rules of the
        AAA would require Plaintiff to be assessed one-half of the total costs of
        arbitration, including the fees of the arbitrator. The Plaintiffs’ affidavits establish
        clearly that they cannot afford these forum costs. Enforcement of this provision
        would, therefore, effectively preclude them from pursuing their claims. Shankle,
        163 F.3d at 1235.

                Second, by providing for an award of attorneys’ fees to the prevailing
        party, instead of a prevailing plaintiff, this clause in the arbitration agreement
        substantially thwarts the statutory enforcement scheme erected by the FLSA . . .
        the chilling effect of this fee-shifting provision on Plaintiffs’ ability and
        willingness to attempt to press their claims under the FLSA is clear.


 Cole, a minimum of 15 hours of arbitrator time at $250 per hour is $3,750 and a maximum of 40
 hours at $600 per hour is $24,000. Plaintiffs‟ calculations are based on at least 15 hours of
 arbitrator-time at $250 per hour and at most 40 hours at $600 per hour. This provides the range
 of likely arbitration expenses from lowest (15 hours at $250 per hour + $975 filing fee = $4,725)
 to highest (40 hours at $600 per hour + $975 filing fee = $24,975). Even if this number is split in
 half, Ms. Nesbitt’s costs are between $2,320.50 and $12,487.50). These amounts do not include
 anything for the costs of any discovery, witness fees, room rental, and associated arbitration
 expenses.
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 2011 WL2791338 at 11.

        In this case, Ms. Nesbitt’s affidavit likewise supports the court’s finding that she would

 not be able to afford the costs of arbitration for which she will be responsible. Ms. Nesbitt is

 employed as a massage therapist where her average compensation barely meets her basic living

 and work expenses, leaving her with less than $170 a month, which is not enough to pay her

 already-accumulated medical bills and business-related expenses, let provide any help to her son

 and granddaughter. See Exhibit 1, Affidavit of Rhonda Lynnae Nesbitt, ¶¶ 13-18.

        While under the SEG Arbitration Agreement the Plaintiff will not have to pay SEG’s

 attorney’s fees if it prevails, nevertheless, the SEG language still directly thwarts the public

 attorneys general scheme of the FLSA and requires Ms. Nesbitt to pay her own attorneys’ fees,

 whether she wins or losses the case. Exhibit 1-A at 8. Ms. Nesbitt’s above-referenced Affidavit

 demonstrates she has no ability to pay any such fees.

        The closest cases on point are Shankle, Perez, Gourley and Daugherty. In Shankle the

 Arbitration Agreement at issue required the plaintiff “to pay one-half of the arbitrator’s fees”

 (which the court held would amount to between $1,875 and $5,000 in pre-1999 dollars), but Mr.

 Shankle could not afford that fee and the court concluded that it was unlikely that others

 similarly situated could, either. Shankle, 163 F.3d at 1234-1235. In striking down the Arbitration

 Agreement as unconscionable, the court said:

        The [Arbitration] Agreement thus placed Mr. Shankle between the proverbial
        rock and a hard place—it prohibited use of the judicial forum, where a litigant is
        not required to pay for a judge’s services, and the prohibitive cost substantially
        limited use of the arbitral forum. See Cole [v. Burns Int’l Sec. Serv.] 105 F.3d at
        1484 (concluding employees would be unable to pursue statutory claims if
        required to pay for arbitrator fees in addition to the administrative costs and
        attorney fees, which accompany both arbitration and litigation).

 Id. at 1235.

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        Daugherty also shows why SEG’s Arbitration Agreement is unconscionable. As the court

 said in that opinion:

        Shankle set the standard in this Circuit that an arbitration agreement requiring a
        plaintiff to share in the costs of arbitration is unenforceable when the agreement
        effectively deprives the plaintiff of an accessible forum to resolve his statutory
        claim and vindicate his statutory rights.

 Daugherty, 2011 WL 2791338 at 10.

        Perez is even closer on point in that there each side had to bear its own arbitration

 expenses and legal expenditures. Perez v. Hospitality Ventures—Denver LLC, 245 F.Supp.2d

 1172, 1173-1174 (D.Colo. 2003) (unconscionable arbitration agreement because of prejudicial

 cost and fee splitting provision cannot be modified because it does not contain savings or

 severability clause); Gourley v. Yellow Transp., 178 F.Supp.2d 1196, 1204 (D.Colo. 2001)

 (arbitration fee and cost sharing provisions unconscionable and no savings clause).

        Daugherty, this court’s own case, is a case where the arbitration agreement raised both

 arbitration expense as well as attorneys’ fees issues. However, in Daugherty, the arbitration

 agreement contained a savings or severability clause. The court therefore relied on the case of

 Fuller v. Pep Boys—Manny, Moe & Jack of Del., Inc., 88 F.Supp.2d 1158, 1162 (D.Colo. 2000),

 among others, to modify the arbitration clause to eliminate the offensive fees and expenses

 provisions from the agreement. Daugherty, 2011WL2791338 at 12.

        More to the point, for the case now before the court, the Daugherty court went on to say:

        [W]here a contract contains a void arbitration provision, it must either be deemed
        unenforceable where there is no savings clause to the contract or, in keeping with the
        presumption in favor of arbitrability in the case of a contract with a savings clause, the
        void language may be stricken and the arbitration agreement otherwise enforced. Here, as
        discussed previously, the [arbitration agreements] do in fact include a severability or
        savings clause. The offending provisions will therefore be stricken, and the remaining
        terms of the arbitration agreement will be given effect.

 Id.

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        What distinguishes this case from Daugherty and Fuller, however, and what is the

 deciding factor in this case, is that there is no savings or severability clause in either the SEG

 Enrollment Agreement, or—more specifically—anywhere within the Arbitration Agreement.

 Exhibit 1-A, passim, and at 8. Accordingly, the Arbitration Agreement must be voided as being

 unconscionable.

        Directly on point is the Colorado federal district court’s decision in Gourley v. Yellow

 Trans., LLC, 178 F.Supp.2d 1196, 2001). There, the court ruled that it had no choice but to void

 the arbitration agreement given its offensive cost-sharing provision because the plaintiffs could

 not afford the costs of arbitration and there was no severability clause in the agreement which

 would allow the court to enforce the arbitration agreement without the offending terms. Id. at

 1203-1204. In Gourley the defendant company volunteered to remedy the offending provisions

 of the arbitration agreement by foregoing the unconscionable provisions, but the court refused,

 noting that the controlling terms of the agreement did not contain a severability clause. That is

 the identical situation that appears in this case, given the language of SEG’s agreements.

        Gourley grew out of the controlling case of Shankle. And Shankle, like Gourley, makes it

 clear that in the absence of a savings or severability clause, the court lacks the authority to

 substitute its decision making power for that of the parties to re-write the terms of a contract.

 Shankle, 163 F.3d at 1235, n.6. (“The Agreement clearly makes the employee responsible for

 one-half of the arbitrator’s fees and we are not at liberty to interpret it otherwise. See Awbrey v.

 Pennzoil Co., 961 F.2d 928, 930 (10th Cir. 1992) (“A court is without authority to alter or amend

 contract terms and provisions absent an ambiguity in the contract.”)).

        The rule that if there is no savings or severability clause then the court must void an

 unconscionable arbitration agreement, instead of being able to simply eliminate the offensive

 terms, is the controlling law in the Tenth Circuit. See also, Perez v. Hospitality Venures—Denver
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 LLC, 245 F.Supp.2d 1172, 1174 (D.Colo. 2003) (“the alleged agreement does not, however,

 contain a severability or savings clause that allows me to enforce the agreement by striking

 unenforceable terms.”) (citations omitted).

        Defendants point to the cases of Green Tree Fin. Corp—Ala. v. Randolph, 531 U.S. 79,

 82 (2000) and Hickey v. Brinker Int’l Payroll Co., L.P., 2014 2014 WL 622883 at 3, to argue that

 simply having a costs and/or fee sharing provision does not invalidate an arbitration agreement.

 SEG stretches the holdings in those cases beyond what they will bear. After the Supreme Court’s

 in decision in Green Tree, the court’s attention should include consideration of the actual ability

 of the plaintiff to pay. However, in the case now before the court neither Green Tree nor Hickey

 provide SEG any meaningful support:

                At most . . . Green Tree stands for the proposition that the employee must
        demonstrate that under the arbitration agreement, she was likely to incur
        substantial fees and costs that would prevent her from vindicating federal
        statutory rights. The Court held the employee in Green Tree had not carried this
        burden because the arbitration agreement did not state who was to bear arbitration
        costs and because the employee failed to make a factual showing that she was
        likely to incur prohibitive expenses. Neither circumstance is present in this case,
        as the alleged arbitration agreement provides for Perez to bear half of the
        arbitration costs and Perez has presented affidavit and other evidence
        demonstrating she cannot afford these costs, which she would not incur in a
        judicial forum.

 Perez, 245 F.Supp.2d 1172, 1173 (D. Colo. 2003).

        Given the detailed factual information set out about the costs and (lack of) ability that

 Ms. Nesbitt has to be able to afford the terms of arbitration mandated by SEG, and given the lack

 of a savings or severability clause, the case now before the court is the same as Gourley and

 Perez, and materially different than Green Tree or Hickey. 11


 11
         Hickey is currently on appeal, and at most only applies the Green Tree rule to the facts of
 that case but does not change the underlying law described above—and particularly the law as
 set out under the decisions in Gourley, Perez and Daugherty. Hickey v. Brinker Int’l Payroll
 Co., L.P., 2014 WL 622883 (Doc. 47) (No. 13-cv-951, March 20, 2014, Notice of Appeal.
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        6)      the relationship of the parties, including factors of assent, unfair surprise,

 and notice.

        While taking into consideration all of the ways in which the formation of the contract was

 burdened with elements oppressive to Ms. Nesbitt (see subsections 1 - 4, above), Ms. Nesbitt did

 sign the Enrollment Agreement, and whether she was rushed through the process or not, she does

 not testify that she was prohibited from reading the lengthy small type-written Enrollment

 Agreement after it was provided to her—aside from the fact that she does not remembers it now.

 Exhibit 1 at ¶ 6. In sum, though, given all of the factors, while this element may not be strongly

 favorable to Ms. Nesbitt, it certainly does not heavily weigh on SEG’s side.

        7)      all the circumstances surrounding the formation of the contract.

        As the court noted in Vernon, “this element is a catchall that allows for consideration of

 all of the factors surrounding formation of the contract.” Id.at 1195. Accordingly, this factor

 essentially asks the court to balance the six previously described factors to come to a general

 ruling as to whether the agreement was conscionable. Plaintiffs will not repeat the facts and

 arguments set out above. Under the law and facts of this case, as demonstrated above, Plaintiffs

 assert that they have prevailed on factors 1-5, and that the parties are nearly equally split on

 factor 6, and so Plaintiffs should prevail on this general balancing of factors.

        That, however, is simply one lens through which the issues in this case may be viewed,

 and Factor 7—the general balancing test—is not the only lens that should be focused on these

 issues. If the terms of the Arbitration Agreement under Factor 5 are found to be offensive, or if

 the court concludes that any one factor outweighs the rest, then under that analyst, too, the

 Arbitration Agreement should be voided. Vernon, 925 F.Supp.2d at 1195. Plaintiffs argue that

 the clearest grounds for finding the Arbitration Agreement unconscionable are found in the



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 expense shifting and fees provisions of the Arbitration Agreement. Those impediments to

 vindicating her rights are not only substantial, they are dispositive in her favor.

 III.   THE TERMS OF SEG’S ARBITRATION AGREEMENT GO TOO FAR AND
        INTERFERE WITH PLAINTIFFS’ RIGHT TO 1) FILE A CHARGE BEFORE
        THE NLRB; AND 2) ENGAGE IN PROTECTED CONCERTED ACTIVITY BY
        JOINING WITH OTHERS TO ASSERT THEIR RIGHTS IN A CLASS OR
        COLLECTIVE ACTION

        SEG’s Arbitration Agreement is so broadly and improperly stated that it would lead a

 reasonable person to believe that it prevented them from filing a charge before the NLRB.

 Because there is no savings or severability clause, the court must void the agreement. SEG’s

 Arbitration Agreement also prohibits Ms. Nesbitt from joining with others to engage in protected

 concerted activity by bringing a class action against SEG asserting her employment-related labor

 law rights, guaranteed under the National Labor Relations Act (“NLRA”), §§ 7 and 8(a)(1). That

 provision is likewise overbroad and impermissibly in violation of Plaintiffs’ rights under the

 substantive guarantees set out in the NLRA, and as applied to their FLSA claims. 12

        A.      SEG’s Abitration Agreement impermissibly would lead a reasonable person

 to conclude that they were prohibited from filing an NLRB charge.


        SEG relies heavily on the Fifth Circuit’s holding in D.R. Horton, but it forgets an

 important part of that holding—the part that invalidates SEG’s Arbitration Agreement. In its

 December 2013 opinion the court unambiguously held:




 12
         A related D.R.Horton argument was recently presented to Hon. J., Blackburn, under
 similar but not exactly the same circumstances; and his ruling was directly against the plaintiffs’
 position. Hickey v. Brinker Int’l Payroll Compnay, L.P., 2014 WL 622883 at 4-5 (Doc. 45) (No.
 13-cv-00951, Feb. 18, 2014). The NLRB’s deadline for the filing of its Petition for Certiorari
 review expires in approximately one week. If no such petition is filed and the Fifth Circuit
 decision becomes final, Plaintiffs will update the court and opposing counsel as to whether they
 will withdraw their D.R.Horton-based protected concerted activity argument.
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         The arbitration agreement would violate the NLRA if it prohibited employees
         from filing unfair labor practice claims with the Board. Even “in the absence of
         express language prohibiting section 7 activity, a company nonetheless violates
         section 8(a)(1) if ‘employees would reasonably construe the language to prohibit
         section 7 activity.’ ” Cintas Corp. v. NLRB, 482 F.3d 463, 467 (D.C. Cir 2007).

 D.R. Horton, 737 F.3d at 363.

         The message from D.R. Horton that SEG ignores is clear: interference with the right to

 file an unfair labor practice charge is unlawful. See, Dish Network Corp., 358 NLRB, No. 29,

 slip op. at 7-8 (2012); Bill's Electric, Inc., 350 NLRB 292, 296 (2007); U-Haul of

 California, 347 NLRB 375, 377-78 (2006), enf’d. mem. 255 F. Appx 527 (D.C. Cir. 2007)

 (holding that an employer violated the Act by maintaining an arbitration policy that

 employees would reasonably construe to prohibit the filing of unfair labor practice

 charges, and that did not clarify that the policy did not extend to the filing of unfair labor

 practice charges).

         Relying on the analysis by the NLRB, the Fifth Circuit found that the arbitration

 agreement at issue created the "reasonable impression" that an employee, by entering

 into the agreement, is waiving not just his trial rights, but his administrative rights as

 well. D.R. Horton, 737 F.3d at 363-364.

         The court noted that the D.R. Horton agreement provided that employees agreed

 to arbitrate, without limitation, numerous claims and that, even though the agreement

 provided four exceptions, none of the exclusions referred to unfair labor practice claims.

 Id. at 363.

         In this matter, SEG’s Agreement to Arbitrate explicitly goes farther and covers

 all disputes between the parties. The language SEG drafted states that “You, the

 student, and Steiner Education Group (“SEG”) agree that any dispute or claim between

 you . . . shall be resolved through binding arbitration . . ..” Exhibit 1-A at 8. Not one

 exemption is listed, and SEG’s description of what claims must be arbitrated goes on for

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 over 10 single-spaced lines, finishing off the expansive (fifth subsection) description, and

 concluding that:

        any claim relating in any manner to any act or omission regarding Student’s
        relationship with SEG or SEG’s employees, whether such dispute arises before,
        during or after Student’s attendance of SEG, and whether the dispute is based on
        contract, statute, tort, or otherwise, shall be resolved through binding arbitration
        pursuant to this Section [the “Arbitration Agreement”].

 Exhibit 1-A at 8.

        This over-broad and impermissible language cannot be saved by the court striking the

 improper provision for the same reasons that the impermissible arbitration costs and attorneys’

 fee shifting provisions cannot be re-written by the court: SEG drafted the Arbitration Agreement

 without including a savings or severability clause. See, supra, at 18-20.


        B.      SEG’s Arbitration Agreement improperly interferes with Plaintiffs’ rights to

 proceed by way of class and collective action pursuant to the NLRA and the FLSA.


        SEG required everyone who attended their schools to waive having their claims heard or

 arbitrated as a class action. In this regard, this case is indistinguishable from part of the decision

 in D.R. Horton, Inc., 357 NLRB No. 184 (2012), overruled, 737 F.3d 344 (5th Cir. 2013)

 (deadline for filing petition for certiorari review still pending to July 15, 2014). There, the Board

 held that “employers may not compel employees to waive their National Labor Relations Act

 (“NLRA”) right to collectively pursue litigation of employment claims in all forums, arbitral and

 judicial.” 357 NLRB No. 184 at 12 – 13.


        An employer violates Section 8(a)(1) of the NRLA by maintaining rules that tend to chill

 employees in the exercise of their Section 7 rights. Lafayette Park Hotel, 326 NLRB 824, 825

 (1998), enf’d 203 F.3d 52 (D.C. Cir. 1999). Rules explicitly restricting the exercise of Section 7

 rights violate Section 8(a)(1). Lutheran Heritage Village-Livonia, 343 NLRB 646 (2004). If a
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 rule explicitly infringes on the Section 7 rights of employees, the maintenance of the rule violates

 the Act. Guardsmark, LLC v. NLRB, 475 F.3d 369, 375-376 (D.C. Cir. 2007).


        In D.R. Horton, Inc., the Board held that employers may not compel employees to waive

 their NLRA right to collectively pursue litigation of employment claims in all forums, arbitral

 and judicial. 357 NLRB No.184 at 15. Individual arbitration can be required, so long as class or

 collective claims can be sought in a judicial forum. Id.


        D.R. Horton is not contrary to the Federal Arbitration Act (FAA), 9 U.S.C. §§ 1 et. seq.,

 and American Express Co. v. Italian Colors Restaurant, 133 S.Ct. 2304 (2013), does not overrule

 D.R. Horton.


        Plaintiffs acknowledge that the Supreme Court has shown deference to enforcement of

 arbitration agreements. See, AT & T Mobility LLC v. Concepcion, 131 S.Ct. 1740, 1749 (2011).

 Stolt-Nielsen S.A. v Animal Feeds Intl. Corp., 559 U.S. 662, 684 (2010); Gilmer v.

 Interstate/Johnson Lane Corp. 500 U.S. 20, 32 (1991); Volt Information Sciences, Inc. v. Board

 of Trustees of Leland Stanford Junior Univ., 489 U.S. 468, 478 (1989); Moses H. Cone

 Memorial Hospital v. Mercury Constr. Corp.,103 S.Ct. 927, 941 (1983).


         However, D.R. Horton differs from these cases because the arbitration agreement

 precludes Plaintiffs from exercising their substantive rights explicitly protected by § 7 of the

 NLRA. The NLRA “protects employees' ability to join together to pursue workplace grievances,

 including through litigation. D.R. Horton, 357 NLRB at 2.


        By filing an unfair labor practice charge and challenging a prohibition against a collective

 arbitral remedy the employee in D.R. Horton was engaging in conduct that the Board has noted


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 was “not peripheral but central to the Act's purposes.” Id. at 4. The Board went on to find that

 there was no conflict between the NLRA and the FAA “[s]o long as the employer leaves open a

 judicial forum for class (and collective) claims, employees' NLRA rights are preserved without

 requiring the availability of class-wide arbitration.” Id. at 16. SEG’s Agreement has no such

 clause. The arbitration clause in this case, like in D.R. Horton, precludes Plaintiffs from

 exercising their substantive rights protected by § 7 of the NLRA and § 216(b) of the FLSA.


        In American Express Co. v. Italian Colors Restaurant, 133 S.Ct. 2304 (2013), merchants

 filed a class action suit against the company for violation of the federal antitrust laws. The

 Supreme Court held that arbitration is a matter of contract and the FAA precludes courts from

 invalidating a contractual waiver of class arbitration because “the plaintiff's cost of individually

 arbitrating a federal statutory claim exceeds the potential recovery.” American Express Co., 133

 S.Ct. at 2307. The Supreme Court also held that “unless the FAA's mandate has been

 “overridden by a contrary congressional command,” courts cannot invalidate arbitration

 agreements simply because the claim is based on the violation of a federal statute. American

 Express Co., 133 S.Ct. at 2309; CompuCredit Corp. v. Greenwood, 132 S.Ct. 665, 668-669

 (2012). The Supreme Court noted that “antitrust laws do not guarantee an affordable procedural

 path to the vindication of every claim.” American Express Co., 133 S.Ct. at 2309. American

 Express Co. is distinguishable from D.R. Horton because it was for a violation of antitrust laws

 where no statutory provision had explicitly guaranteed the substantive right at issue (to engage in

 concerted activity by pursuing class or collective remedies). But see, Gilmer v.

 Interstate/Johnson Lane Corp. 500 U.S. 20, 32 (1991) (enforcing ADEA arbitration

 requirement).




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        In D.R. Horton, the charging party was required, as a condition of employment, to sign an

 arbitration agreement that contained a clause precluding Charging Party and other employees

 covered by the Act from filing joint, class, or collective claims in arbitral and judicial forums.

 The Board explained that an employer violates Section 8(a)(1) of the Act when it requires

 employees, as a condition of their employment, to sign an arbitration agreement that prohibits

 them from “filing joint, class, or collective claims addressing their wages, hours, or other

 working conditions against the employer in any forum, arbitral or judicial.” 357 NLRB No. 184

 at 1. The difference between American Express Co. and D.R. Horton is that the latter it is not

 just a matter based on the unpalatable result of the application of a federal statute (federal

 antitrust laws), but rather, that substantive rights explicitly guaranteed under the NRLA to pursue

 protected concerted activity with respect to a federal statute (the FLSA) that itself guarantees the

 right to proceed together with others were denied the charging party in D.R. Horton, and are

 being denied in this case.


        No Tenth Circuit case has yet to consider the opinion announced in the D.R. Horton case.

 Admittedly, the treatment of that decision in other circuits has not been consistent with the

 NLRB’s holding. See, e.g., D.R. Horton, Inc., 357 NLRB No. 184 (2012), overruled, 737 F.3d

 344 (5th Cir. 2013) (deadline for filing petition for certiorari review still pending); Owen v.

 Bristol Care, Inc. 702 F.3d 1050 (8th Cir. 2013); Richards v. Ernst & Young, 2013 WL 4437601

 (9th Cir. 2013); Sutherland v. Ernst & Young, 2013 WL 403844 (2013).


        This same argument has been the subject of a Colorado federal district court opinion

 referenced by SEG (Hickey v. Brinker Int’l; Payroll Company, L.P., 2014 WL 622883 (D. Colo.

 2014). In this case, an unfair labor practice charge has been filed with the NLRB challenging the

 waiver of class remedies in SEG’s Arbitration Agreement as a violation of the NLRA. The

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 charge was filed on June 18, 2014. Ex. 4. Whether the decision of the NLRB then validates or

 invalidates the agreements, the parties would be able to appeal the decision instead of inviting

 potentially conflicting opinions from the district courts within the circuit. But see Spears v.

 MidAmerica Waffles, Inc.,11-2273-CM, 2012 WL 2568157 at *2 (2012) (D. Kan. July 2, 2012).


           The doctrine of primary jurisdiction provides that when the same controversy may be

 presented to a court or to the NLRB, it should be presented to the Board. Sears Roebuck & Co.

 v. San Diego Cnty. Dits. Council of Carpenters, 436 U.S. 180, 202 (1978). “As applied in a

 labor relations context, the doctrine of primary jurisdiction is a recognition of congressional

 intent to have matters of national labor policy decided in the first instance by the National Labor

 Relations Board.” Glaziers & Glassworkers Local Union 767 v. Custom Auto Glass Distribs,

 689 F.2d 1339, 1342 (9th Cir. 1982). Accordingly, if the court does not deny SEG’s Motion to

 Compel for the reasons set forth above, the court should stay this matter until Ms. Nesbitt’s

 pending NLRB charge is resolved.


                                        V.      CONCLUSION

           For the reasons stated above, Defendants’ Motion to Compel Arbitration should be

 denied.

           Respectfully submitted this 8th day of July, 2014.



                                                        SAWAYA & MILLER LAW FIRM


                                                        s/David H. Miller
                                                 By:    _______________________________
                                                        David H. Miller, Esq.,
                                                        Leslie Krueger-Pagett, Esq.
                                                        Sawaya & Miller Law Firm
                                                        1600 Ogden Street

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                                          Denver, Colorado 80218
                                          Tele: 303-839-1650 x 1090
                                          Fax: 720-235-4380
                                          Email: DMiller@sawayalaw.com
                                                 LPagett@sawayalaw.com




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                                 CERTIFICATE OF SERVICE

         The undersigned individual hereby certifies that on the 8th day of July, 2014, a true and
 correct copy of this PLAINTIFF’S RESPONSE TO MOTION TO COMPEL
 ARBITRATION was electronically filed with the Clerk of the Court using the CM/ECF system
 which will send notification of such filing to the following email recipients and addresses:

        Natalia Ballinger, Esq.
        Greenberg Traurig, LLP
        1200 Seventeenth Street – Suite 2400
        Denver, CO 80202
        ballingern@gtlaw.com

        Scott D. Segal
        335 South Biscayne Boulevard, Suite 3405
        Miami, LF 33131
        ssegal@myhrattorney.com

        Attorneys for Defendants FCNH, Inc., Virginia Massage Therapy, Inc., Mid-Atlantic
        Massage Therapy, Inc., Steiner Education Group, Inc., Steiner Leisure Ltd., and SEG
        Cort LLC




                                                     s/David H. Miller
                                                     _____________________________
                                                     David H. Miller




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